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 Case 20-70658-AKM-13          Doc      Filed 01/23/23     EOD 01/23/23 10:38:20         Pg 8 of 8




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

 In Re:                                            Case No. 20-70658-AKM-13

 Sandra Kay Underwood                              Chapter 13

 Debtor.                                           Judge Andrea K. McCord

                                 CERTIFICATE OF SERVICE

I certify that on January 23, 2023, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/parties may access this filing through the Court’s system:

          James Raymond Wiesneth, Jr., Debtor’s Counsel
          jrw@wiesnethlaw.com

          Robert Musgrave, Trustee
          evansville@trustee13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on January 23, 2023, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Sandra Kay Underwood, Debtor
          4721 Old Plank Road North
          New Harmony, IN 47631

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   394 Wards Corner Road, Suite 180
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor
